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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK et al.,
CASE NO. 4:24-cv-390
Plaintiffs,

V. DECLARATION OF
KOLBY WARREN
PAUL D. PATE et al.,

Defendants.

I, Kolby Warren, declare as follows:

I. The facts contained in this declaration are known personally to me and, if
called as a witness, I could and would testify competently thereto under oath.

2. I am an attorney with the law firm of McCormally & Cosgrove, P.L.L.C.
who represents the Iowa Democratic Party.

3. As part of our voter protection program, we tried to ascertain information
from the auditors related to the directive from the Iowa Secretary of State’s challenge of
2,176 voters as possible non-citizens of the United States.

4. On October 31, 2024, I made phone calls to county auditors from four (4)
lowa desntias in to obtain clarity on the documents that would be accepted as proof of
citizenship, if the documents would be accepted at the polling location and if provisional
ballots would still be required.

3; I made phone calls to the auditors of Black Hawk, Clinton, Marshall and

Scott Counties.
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6. I was able to speak personally with the auditors or election directors of
Black Hawk and Marshall counties. I left messages for the auditors or election officials of
Clinton and Scott Counties and did not receive a call back.

4 In discussing this matter and gathering information from the auditors, I
received differing guidance as to what the auditors would be accepting as proof of
citizenship; procedures for challenges or curing provisional ballots, or how voters would
be notified, as there was'no direction from the Iowa Secretary of State.

8. I additionally called the Iowa Secretary of State Election Division on
October 31, 2024. I spoke to a representative, who took my information and said someone
would be reaching out to me to answer these questions. I have not received a call back to

date.

9, In accordance with 28 U.S.C. § 1746 and under penalty of perjury, I swear
that the foregoing 1s true and correct.

Executed on November 5, 2024 in Des Moines, Iowa.

SF

Kolby, “Whfren
